                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________


RAVEN ANDERSON, as
Personal Administrator for the
Estate of CAMERON WILLIAMS Deceased,

        Plaintiff,
                                                                   Case No.:
v.

WISCONSIN DEPARTMENT OF                                           JURY TRIAL DEMANDED
CORRECTIONS; KEVIN A. CARR,
SECRETARY, WISCONSIN DEPARTMENT
OF CORRECTIONS; JARED HOY, DEPUTY
SECRETARY, JOHN DOE #1, CORRECTIONAL
OFFICER; JOHN DOE #2, CORRECTIONAL
OFFICER and RANDALL HEPP, WARDEN,
WAUPUN CORRECTIONAL in their individual
and official capacities.

                                        COMPLAINT

        NOW COMES Plaintiff, RAVEN ANDERSON, as the Personal Administrator of the

Estate of CAMERON WILLIAMS, deceased, by and through her attorney, Lonnie D. Story,

Esq., of the STORY LAW FIRM, LLC, and for her claims against the Defendants, alleges and

states as follows:

                                      INTRODUCTION

     1. This is a civil rights action in which Plaintiff, RAVEN ANDERSON, as Personal

        Representative for the Estate of CAMERON WILLIAMS, seeks relief and all damages

        that flow from Defendants’ multiple violations of decedent CAMERON WILLIAMS’s

        rights, privileges, and immunities as secured by the Eighth Amendment of the United

        States Constitution pursuant to 42 U.S.C. §1983.




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2. Mr. Williams died on October 30, 2023, of a stroke caused by “multifocal cerebral

   venous thrombosis” while under the custody and care of Waupun Correctional Institution

   (WCI) located in Waupun, Wisconsin.

3. During the period leading up to October 30, 2023, Defendants owed Mr. Williams a duty

   to protect him from unreasonable dangers while in their custody and care.

4. During the same period, Defendants requested a Department of Justice Investigation due

   to the discovery of illegal drugs entering their facility during a prolonged lockdown.

5. At all times relevant, Defendants willfully and deliberately ignored their duties,

   specifically their duties to ensure Mr. Williams’s civil rights weren’t violated by

   subjecting him to a prolonged lockdown.

6. Defendants’ failure to obtain medical care for Mr. Williams resulted in him suffering a

   fatal stroke.

7. On behalf of the estate of Mr. Williams, as the Personal Representative thereof, RAVEN

   ANDERSON seeks all relief appropriate and allowable resulting from the constitutional

   violations Defendants inflicted upon Mr. Williams.

8. As part of the aforementioned relief, Plaintiff RAVEN ANDERSON seeks damages for

   the Estate, including any and all damages recoverable under all applicable state laws, 42

   U.S.C. Sections 1983 and 1988, attorney fees and costs, and any further relief deemed

   proper by this Honorable Court.

                                JURISDICTION AND VENUE

9. The jurisdiction of the court is invoked pursuant to the Civil Rights Act of 1871, 42 U.S.C.

   §1983; the Judicial Code, 28 U.S.C. §1331, §1346, and §1391(b); the Constitution of the




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          United States of America; and this Court’s supplementary jurisdiction powers pursuant to

          28 U.S.C. §1367.

      10. Venue is proper in this District under 28 U.S.C.§1391. The parties reside, or at the time

          the events took place, resided in this judicial district, and the events giving rise to Plaintiff’s

          claims also occurred in this judicial district.

                                                     PARTIES

      11. Plaintiff RAVEN ANDERSON is the duly appointed Personal Representative of

          CAMERON WILLIAMS as his mother. RAVEN ANDERSON is a resident of COUNTY

          OF COOK, STATE OF ILLINOIS.

      12. Defendant Wisconsin Department of Corrections (“WIDOC”) is an entity run by the State

          of Wisconsin.     The Department states it, “works to protect the public through the

          constructive management of those placed in its charge. We offer education, programming,

          and treatment to persons in our care that enables them to be successful upon returning to

          the community. Our mission is to achieve excellence in correctional practices while

          fostering safety for victims and communities.”1

      13. Defendant Kevin Carr is the Secretary of the WIDOC. Defendant Carr is responsible for

          the management of the WIDOC.

      14. Defendant Jared Hoy is the Deputy Secretary of the WIDOC and is second in charge of the

          Department.

      15. Defendant John Doe #1 is/was a Correctional Officer at Waupun Correctional Institution

          while Mr. Williams was incarcerated there. John Doe #1 was on duty on the day Mr.

          Williams died.



1   https://doc.wi.gov/Pages/Home.aspx


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      16. Defendant John Doe #2 is/was a Correctional Officer at Waupun Correctional Institution

          while Mr. Williams was incarcerated there. John Doe #2 was on duty on the day Mr.

          Williams died.

      17. Defendant Randall Hepp is the Warden at WCI. As warden at WCI, Defendant Hepp is

          responsible for all staff and inmates at WCI. Defendant Hepp is responsible for the

          supervision and training of staff under his management.            Defendant Hepp is also

          responsible for ensuring the health, safety, and well-being of all inmates at WCI.

                                         FACTUAL ALLEGATIONS

      18. Defendant WIDOC is an entity run by the State of Wisconsin. The Department states it,

          “works to protect the public through the constructive management of those placed in its

          charge. We offer education, programming, and treatment to persons in our care that

          enables them to be successful upon returning to the community. Our mission is to achieve

          excellence in correctional practices while fostering safety for victims and communities.”2

      19. At all times relevant, Defendant WIDOC was responsible for providing medical and mental

          health services, treatment, and medication to Mr. Williams while in custody.

      20. Defendant WIDOC was additionally responsible for creating and implementing policies,

          practices, and protocols that govern the provisions of mail intake, guard monitoring, and

          the control of illegal contraband entering/exiting WCI.

      21. WCI’s Purpose Statement alleges, “The purpose of Waupun Correctional Institution (WCI)

          is to provide inmates, staff, and the public with a safe and secure institution, while

          encouraging positive growth and enabling inmates to successfully re-enter society.”3




2   Id.
3   https://doc.wi.gov/Pages/OffenderInformation/AdultInstitutions/WaupunCorrectionalInstitution.aspx


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          22. At all times relevant, Defendant Hepp was responsible for the daily operations of WCI.

             This responsibility includes the supervision of the staff within his institution.

          23. Mr. Williams was sentenced in 2019 to 13 years in prison.

          24. According to the Wisconsin Department of Corrections, Mr. Williams arrived at WCI on

             or about April 2, 2021.

          25. In his individual and official capacity, Defendant Hepp implemented a lockdown at WCI

             on or about March 29, 2023.

          26. According to prison officials, the lockdown was implemented due to, “some of the

             institution population breaking rules that are in place to assure everyone’s safety.” 4

          27. Reporting in the Milwaukee Journal Sentinel also stated, “More than half of the staff

             positions at Waupun are unfilled, while the prison is housing 120 more people that its 882-

             person capacity.” 5

          28. Based on information and belief, on or near October 21, 2023, Mr. Williams began asking

             for medical treatment.

          29. Mr. Williams sought medical treatment after throwing up blood.

          30. According to other inmates in the same housing unit, Mr. Williams was “crying and

             begging” to go to the emergency room due to severe head pain. 6

          31. Despite his screams, no guards ever provided him with assistance. Id.




4
 https://www.jsonline.com/story/news/2023/11/02/heres-what-you-need-to-know-about-the-waupun-
prison-lockdown/71400906007/
5
    Id.
6
 https://www.msn.com/en-us/news/crime/the-screams-were-blood-curdling-before-cameron-williams-
died-at-waupun-prisoners-say-he-begged-staff-for-help/ar-BB1kdKxd



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32. Toward the end of October 2023, and according to the above-mentioned inmates, Mr.

   Williams’s speech became “discombobulated,” and was described as “jibber jabber.” Id.

33. Prior to his change in speech, Mr. Williams used to talk or sing all day until other inmates

   in his housing area would ask him to be quiet. Id.

34. Approximately 36 hours later, Mr. Williams was found dead in his cell.

35. Based on information and belief, Mr. Williams sought medical treatment and was ignored

   by correctional officers at Waupun Correctional Institution.

36. The Dodge County Medical Examiner determined the cause of death to be a stroke caused

   by “multifocal cerebral venous thrombosis” while under the custody and care of Waupun

   Correctional Institution (WCI) located in Waupun, Wisconsin.

                                         CLAIMS

                 COUNT I - MONELL LIABILITY - DEFENDANTS

37. Plaintiff incorporates the foregoing paragraphs as if set forth fully herein.

38. Defendant WIDOC is a “person” for the purposes of 42 U.S.C. §1983.

39. All Defendants acted under color of state law, while operating in their respective capacities

   during their interactions with Mr. Williams.

40. WCI had a set of policies, procedures, and protocols pertaining to the administration of

   medical care to all inmates of WCI.

41. Upon information and belief, between on or about April 2, 2021 and October 30, 2023,

   Defendants, with deliberate indifference to the rights of Mr. Williams, maintained and

   permitted a custom, pattern, and/or practice - by and through its agents and employees

   acting under color of law - ignoring Mr. Williams’ rights to adequate medical care.




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42. As a direct and proximate result of the customs, patterns, and/or practices of Defendants

   in their individual and official capacities, Mr. Williams suffered a stroke and passed away.

      COUNT II - VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. §1983
           (Eighth Amendment – Cruel and Unusual Punishment)

43. Plaintiff realleges the above paragraphs and incorporates same as if more fully set forth

   herein.

44. The Eighth Amendment’s cruel and unusual punishment clause “imposes a duty on prison

   officials to provide humane conditions of confinement, including adequate food, clothing,

   shelter, sanitation, medical care, and reasonable safety from serious bodily harm.” Tafoya

   v. Salazar, 516 F.3d 912, 916 (10th Cir. 2008).

45. The Eighth Amendment also protects “prisoners from prison conditions that cause ‘the

   wanton and unnecessary infliction of pain.’” Pyles v. Fahim, 771 F.3d 403, 408 (7th Cir.

   2014).

46. At all times relevant, Mr. Williams was entitled to all rights, privileges and immunities

   afforded to all incarcerated citizens of the State of Wisconsin and the United States.

47. At all times relevant, Defendants had a duty to protect Mr. Williams from known serious

   risks to his health or safety.

48. At all times relevant, Defendants were acting within the course and scope of their

   employment with WIDOC and were acting under color of state law with the authority

   granted to them as corrections officers, supervisors, shift supervisors, health care providers,

   wardens, and/or administrators, along with any other roles or responsibilities not mentioned

   under the supervision of any named Defendant.

49. Pursuant to the Eighth Amendment of the United States Constitution, Mr. Williams had a

   right to be free from cruel and unusual punishment while incarcerated at WCI and at all



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   times relevant while under the custody and control of the Wisconsin Department of

   Corrections.

50. At all times relevant, Defendants had a duty to protect Mr. Williams from known serious

   risks to his health or safety.

51. At all times relevant, Defendants, with malice, recklessness, and/or deliberate indifference,

   kept Mr. Williams in a confined area with knowledge he was actively seeking medical

   treatment.

52. Based on Defendants’ actions, Mr. Williams suffered cruel and unusual punishment by

   unnecessarily suffering from a medical issue which resulted in his death.

53. Mr. Williams is survived by RAVEN ANDERSON, a person eligible to recover damages

   on Mr. Williams’ behalf as their next of kin.

54. By the above-mentioned actions and/or omissions, Defendants deprived Mr. Williams of

   the rights secured by the Eighth Amendment of the United States Constitution.

     COUNT III - VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. §1983
                (Eighth Amendment – Deliberate Indifference)

55. Plaintiff realleges the above paragraphs and incorporates same as if more fully set forth

   herein.

56. “Deliberate indifference to serious medical needs of prisoners constitutes the ‘unnecessary

   and wanton infliction of pain,’…prescribed by the Eighth Amendment. Estelle v. Gamble,

   429 U.S. 97, 1204 (1976).

57. To establish an entitlement to damages for deliberate indifference to a serious medical

   need, an inmate must show evidence that an objectively serious medical condition was

   presented that a defendant responded to with deliberate indifference, thus resulting in some

   injury. Lord v. Beahm, 952 F.3d 902, 904 (7th Cir. 2020).



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58. At all times relevant, Mr. Williams was entitled to all rights, privileges and immunities

   afforded to all incarcerated citizens of the State of Wisconsin and the United States.

59. At all times relevant, Defendants had a duty to protect Mr. Williams from known serious

   risks to his health or safety.

60. Defendants’ deliberate indifference to Mr. Williams’ well-being was in furtherance of, and

   consistent with: (a) policies, customs, and practices which WIDOC and WCI promulgated,

   created, implemented, or possessed responsibility for the continued operation of; and (b)

   policies, customs, and practices which WIDOC and WCI had responsibility for

   implementing and which other named Defendants assisted in developing or executing.

61. By the above-mentioned actions and/or omissions, Defendants deprived Mr. Williams of

   the rights secured by the Eighth Amendment of the United States Constitution.

       COUNT III – VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. §1983
              (Fourteenth Amendment – State Created Danger)

62. Plaintiff realleges the above paragraphs and incorporates same as if more fully set forth

   herein.

63. The Due Process Clause of the Fourteenth Amendment prohibits state officials from

   engaging in conduct that renders an individual more vulnerable to harm.

64. Defendants Carr, Hoy, John Does #1 and #2, and Hepp were aware of the environment

   within WCI and failed to address the issue.

65. Defendants failed to provide adequate medical care to Mr. Williams throughout the course

   of the lockdown at Waupun Correctional Institution.

66. Defendants’ actions, and inactions, constitute a violation of Plaintiff’s rights under 42

   U.S.C. §1983 and under the Fourteenth Amendment to the United States Constitution,

   which resulted in his death.



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67. Further, Defendants’ actions of ignoring pleas for medical treatment made Mr. Williams

   more vulnerable to harm and constituted deliberate indifference to a serious risk of harm.

68. Defendants’ actions and inactions constitute a violation of Mr. Williams’ rights under 42

   U.S.C. §1983 and under the Fourteenth Amendment to the United States Constitution,

   which resulted in his death.

       COUNT III – VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. §1983
                        (Failure to Train and Supervise)

69. Plaintiff realleges the above paragraphs and incorporates same as if more fully set forth

   herein.

70. Supervisory state officials are prohibited from enacting or maintaining unconstitutional

   policies, practices, or customs with deliberate indifference to the consequences.

71. A supervisor is liable if they at least implicitly authorized, approved of or knowingly

   acquiesced in the unconstitutional conduct of a subordinate.

72. At all times relevant, Defendants Carr, Hoy, John Does #1 and #2, and Hepp were

   responsible for the creation and implementation of policies for WIDOC and WCI.

73. At all times relevant, Defendant Hepp was responsible for the daily operations of staff at

   WCI. This included training of staff.

74. At all times relevant, Defendants failed to provide proper medical care for Mr. Williams

   while he was under their care and control.

75. In the alternative, Defendants did not have an effective policy or practice that effectively

   addressed the need to provide medical treatment for inmates under their care.

76. Defendant Hepp also failed to properly train, monitor, or supervise the staff under his

   supervision.




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77. Defendants’ actions and inactions constitute a violation of Plaintiff’s rights under 42 U.S.C.

   §1983 and under the Fourteenth Amendment to the United States Constitution, which

   resulted in his death.

                                  REQUESTED RELIEF

   WHEREFORE, Plaintiff respectfully requests that this Court:

           a.   Full and fair compensatory damages in an amount to be determined by a jury;

           b. Punitive damages in an amount to be determined by a jury;

           c. Reasonable attorney’s fees and costs of this action;

           d. Award the Estate of CAMERON WILLIAMS, pursuant to all applicable laws,

                fair and equitable damages, including, but not limited to, reasonable expenses

                for which the state is liable; and

           e. Any such other relief as appears just and proper.

                                      JURY DEMAND

   Plaintiff hereby demands a trial by jury of all triable issues, per Fed. R. Civ. P. 38(b).

                                                     RESPECTFULLY SUBMITTED,

   Dated: May 7, 2024.                               Electronically signed by:

                                                     Lonnie D. Story_____________
                                                     Lonnie D. Story, Esquire
                                                     Attorney for Plaintiff
                                                     STORY LAW FIRM, LLC
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